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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

WALEKSA CARDOSO SCHELL,                                )
an individual,                                         )
                                                       )
                         Plaintiff,                    )       Case No.: 1:21-cv-6654
                                                       )
                v.                                     )
                                                       )       PLAINTIFF DEMANDS
ALDI, INC.., an Illinois Corporation,                  )       TRIAL BY JURY
                                                       )
                         Defendant.                    )

                                           COMPLAINT

        Plaintiff, WALEKSA CARDOSO SCHELL (hereafter referred to as “Plaintiff”), by and

through her attorneys, JOHNSON BECKER, PLLC and TOMASIK KOTIN KASSERMAN,

LLC, hereby submit the following Complaint and Demand for Jury Trial against Defendant ALDI,

INC., (hereafter referred to as “Defendant Aldi”), and alleges the following upon personal

knowledge and belief, and investigation of counsel:

                                      NATURE OF THE ACTION

        1.      Defendant designs, manufactures, markets, imports, distributes and sells consumer

kitchen products, including the subject “Ambiano 6 in 1 Programmable Pressure Cooker” that is

at issue in this case.

        2.      Defendant touts the “safety” 1 of its pressure cookers, and that they are equipped

with Safety devices such as a float valve, pressure regulator and a lid position sensor. 2 Despite

Defendant’s claims of “safety”, it designed, manufactured, marketed, imported, distributed and

sold a product that suffers from serious and dangerous defects. Said defects cause significant risk

of bodily harm and injury to its consumers.


1
  See, Ambiano 6 in 1 Programmable Pressure Cooker Pressure Cooker Owner’s manual. A copy of the Owner’s
manual is attached hereto as “Exhibit A”, pg. 17.
2
  Id.
                                                   1
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       3.      Specifically, said defects manifest themselves when, despite Defendant’s claims,

the lid of the pressure cooker is removable with built-up pressure, heat and steam still inside the

unit. When the lid is removed under such circumstances, the pressure trapped within the unit

causes the scalding hot contents to be projected from the unit and into the surrounding area,

including onto the unsuspecting consumers, their families and other bystanders. The Plaintiff in

this case was able to remove the lid while the pressure cooker retained pressure, causing her serious

and substantial bodily injuries and damages.

       4.      Defendants knew or should have known of these defects, but has nevertheless put

profit ahead of safety by continuing to sell its pressure cookers to consumers, failing to warn said

consumers of the serious risks posed by the defects, and failing to recall the dangerously defective

pressure cookers regardless of the risk of significant injuries to Plaintiff and consumers like them.

       5.      As a direct and proximate result of Defendants’ conduct, the Plaintiff in this case

incurred significant and painful bodily injuries, medical expenses, lost wages, physical pain,

mental anguish, and diminished enjoyment of life.

                        PLAINTIFF WALEKSA CARDOSO SCHELL

       6.      Plaintiff is a resident and citizen of the city of Prosper, County of Collin, State of

Texas, and was born on July 8, 1977.

       7.      On or about January 2, 2020, Plaintiff suffered serious and substantial burn injuries

as the direct and proximate result of the pressure cooker’s lid being able to be rotated and opened

while the pressure cooker was still under pressure, during the normal, directed use of the pressure

cooker, allowing its scalding hot contents to be forcefully ejected from the pressure cooker and

onto the Plaintiff. The incident occurred as a result of the failure of the pressure cooker’s supposed

“safety” features which purport to keep the consumer safe while using the pressure cooker. In




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addition, the incident occurred as the result of Defendant’s failure to redesign the pressure cooker,

despite the existence of economical, safer alternative designs.

                                    DEFENDANT ALDI, INC.

           8.    Defendant Aldi designs, manufactured, markets, imports, distributes and sells a

variety of consumer kitchen products including pressure cookers, juicers, coffee makers, and air-

fryers, amongst others.

           9.    Defendant Aldi is an Illinois Corporation, with a principal business located at 1200

N. Kirk Rd., Batavia, IL 60510, and does business in all 50 states. Defendant Aldi is therefore

deemed to be a resident and citizen of the State of Illinois for purposes of diversity jurisdiction.

           10.   At all times relevant, Defendant Aldi substantially participated in the design,

manufacture, marketing, distribution and sale of the subject pressure cooker, which caused

Plaintiff’s injuries and damages.

                                  JURISDICTION AND VENUE

           11.   This Court has subject matter jurisdiction over this case pursuant to diversity

jurisdiction prescribed by 28 U.S.C. § 1332 because the matter in controversy exceeds the sum or

value of $75,000, exclusive of interest and costs, and there is complete diversity between the

parties.

           12.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391 all or a substantial part

of the events or omissions giving rise to this claim occurred in this district, and Defendant is a

resident of this district.

                                    FACTUAL BACKGROUND

           13.   Defendant is engaged in the business of designing, manufacturing, warranting,

marketing, importing, distributing and selling the pressure cookers at issue in this litigation.




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           14.   Defendant touts the “safety” 3 of its pressure cookers, and that they are equipped

with Safety devices such as a float valve, pressure regulator and a lid position sensor. 4

           15.   By reason of the forgoing acts or omissions, the above-named Plaintiff purchased

the pressure cooker with the reasonable expectation that it was properly designed and

manufactured, free from defects of any kind, and that it was safe for its intended, foreseeable use

of cooking.

           16.   Plaintiff used her pressure cooker for its intended purpose of preparing meals for

herself and/or family and did so in a manner that was reasonable and foreseeable by the Defendant.

           17.   However, the aforementioned pressure cooker was defectively and negligently

designed and manufactured by the Defendant in that it failed to properly function as to prevent the

lid from being removed with normal force while the unit remained pressurized, despite the

appearance that all the pressure had been released, during the ordinary, foreseeable and proper use

of cooking food with the product; placing the Plaintiff, her family, and similar consumers in danger

while using the pressure cookers.

           18.   Defendant’s pressure cookers possess defects that make them unreasonably

dangerous for their intended use by consumers because the lid can be rotated and opened while the

unit remains pressurized.

           19.   Further, Defendant’s representations about “safety” are not just misleading, they

are flatly wrong, and put innocent consumers like Plaintiff directly in harm’s way.

           20.   Economic, safer alternative designs were available that could have prevented the

Pressure Cooker’s lid from being rotated and opened while pressurized.

           21.   Defendant knew or should have known that its pressure cookers possessed defects

that pose a serious safety risk to Plaintiff and the public. Nevertheless, Defendant continues to

3
    Id.
4
    Id.
                                                  4
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ignore and/or conceal its knowledge of the pressure cookers’ defects from the general public and

continues to generate a substantial profit from the sale of its pressure cookers.

       22.     As a direct and proximate result of Defendant’s intentional concealment of such

defects, its failure to warn consumers of such defects, its negligent misrepresentations, its failure

to remove a product with such defects from the stream of commerce, and its negligent design of

such products, Plaintiff used an unreasonably dangerous pressure cooker, which resulted in

significant and painful bodily injuries upon Plaintiff’s simple removal of the lid of the Pressure

Cooker.

       23.     Consequently, the Plaintiff in this case seeks compensatory damages resulting from

the use of Defendant’s pressure cooker as described above, which has caused the Plaintiff to suffer

from serious bodily injuries, medical expenses, lost wages, physical pain, mental anguish,

diminished enjoyment of life, and other damages.

                                     CLAIMS FOR RELIEF

                                           COUNT I
                                       STRICT LIABILITY

       24.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       25.     At the time of Plaintiff’s injuries, Defendant’s Pressure Cookers were defective and

unreasonably dangerous for use by foreseeable consumers, including Plaintiff.

       26.     Defendant’s Pressure Cookers were in the same or substantially similar condition

as when they left the possession of Defendant.

       27.     Plaintiff did not misuse or materially alter their respective Pressure Cookers.

       28.     The Pressure Cookers did not perform as safely as an ordinary consumer would

have expected them to perform when used in a reasonably foreseeable way.



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       29.      Further, a reasonable person would conclude that the possibility and serious of harm

outweighs the burden or cost of making the Pressure Cookers safe. Specifically:

             a. The Pressure Cookers designed, manufactured, sold, and supplied by Defendant
                were defectively designed and placed into the stream of commerce in a defective
                and unreasonably dangerous condition for consumers;

             b. The seriousness of the potential burn injuries resulting from the product drastically
                outweighs any benefit that could be derived from its normal, intended use;

             c. Defendant failed to properly market, design, manufacture, distribute, supply, and
                sell the Pressure Cookers, despite having extensive knowledge that the
                aforementioned injuries could and did occur;

             d. Defendant failed to warn and place adequate warnings and instructions on the
                Pressure Cookers;

             e. Defendant failed to adequately test the Pressure Cookers; and

             f. Defendant failed to market an economically feasible alternative design, despite the
                existence of the aforementioned economical, safer alternatives, that could have
                prevented the Plaintiff’ injuries and damages.

       30.      Defendant’s actions and omissions were the direct and proximate cause of the

Plaintiff’s injuries and damages.

       31.      Defendant’s conduct, as described above, was extreme and outrageous. Defendant

risked the safety and well-being of the consumers and users of its Pressure Cookers, including the

Plaintiff to this action, with the knowledge of the safety and efficacy problems and suppressed this

knowledge from the public. Defendant made conscious decisions not to redesign, warn or inform

the unsuspecting consuming public. Defendant’s outrageous conduct warrants an award of

punitive damages according to proof, and to the extent applicable by law.

       WHEREFORE, Plaintiff demands judgment against Defendant for damages, together

with interest, costs of suit, and all such other relief as the Court deems proper.


                                            COUNT II
                                          NEGLIGENCE


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       32.      Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       33.      Defendant has a duty of reasonable care to design, manufacture, market, and sell

non-defective Pressure Cookers that are reasonably safe for their intended uses by consumers, such

as Plaintiff and her family.

       34.      Defendant failed to exercise ordinary care in the manufacture, sale, warnings,

quality assurance, quality control, distribution, advertising, promotion, sale and marketing of its

Pressure Cookers in that Defendant knew or should have known that said Pressure Cookers created

a high risk of unreasonable harm to the Plaintiff and consumers alike.

       35.      Defendant was negligent in the design, manufacture, advertising, warning,

marketing and sale of its Pressure Cookers in that, among other things, it:

             a. Failed to use due care in designing and manufacturing the Pressure Cookers to
                avoid the aforementioned risks to individuals;

             b. Placed an unsafe product into the stream of commerce;

             c. Aggressively over-promoted and marketed its Pressure Cookers through television,
                social media, and other advertising outlets; and

             d. Were otherwise careless or negligent.

       36.      Despite the fact that Defendant knew or should have known that consumers were

able to remove the lid while the Pressure Cookers were still pressurized, Defendant continued to

market (and continues to do so) its Pressure Cookers to the general public.

       37.      Defendant’s conduct, as described above, was extreme and outrageous. Defendant

risked the safety and well-being of the consumers and users of its Pressure Cookers, including the

Plaintiff to this action, with the knowledge of the safety and efficacy problems and suppressed this

knowledge from the public. Defendant made conscious decisions not to redesign, warn or inform

the unsuspecting consuming public. Defendant’s outrageous conduct warrants an award of

punitive damages according to proof, and to the extent applicable by law.
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       WHEREFORE, Plaintiff demands judgment against Defendant for damages, together

with interest, costs of suit, and all such other relief as the Court deems proper.

                                   COUNT III
                     BREACH OF IMPLIED WARRANTY OF FITNESS
                           FOR A PARTICULAR PURPOSE

       38.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       39.     Defendant manufactured, supplied, and sold its Pressure Cookers with an implied

warranty that they were fit for the particular purpose of cooking quickly, efficiently and safely.

       40.     Members of the consuming public, including consumers such as the Plaintiff, were

the intended third-party beneficiaries of the warranty.

       41.     Defendant’s Pressure Cookers were not fit for the particular purpose as a safe means

of cooking, due to the unreasonable risks of bodily injury associated with their use.

       42.     The Plaintiff in this case reasonably relied on Defendant’s representations that its

Pressure Cookers were a quick, effective and safe means of cooking.

       43.     Defendant’s breach of the implied warranty of fitness for a particular purpose was

the direct and proximate cause of Plaintiff’s injuries and damages.

       44.     Defendant’s conduct, as described above, was extreme and outrageous. Defendant

risked the safety and well-being of the consumers and users of its Pressure Cookers, including the

Plaintiff to this action, with the knowledge of the safety and efficacy problems and suppressed this

knowledge from the public. Defendant made conscious decisions not to redesign, warn or inform

the unsuspecting consuming public. Defendant’s outrageous conduct warrants an award of

punitive damages according to proof, and to the extent applicable by law.

       WHEREFORE, Plaintiff demands judgment against Defendant for damages, together

with interest, costs of suit, and all such other relief as the Court deems proper.

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                                COUNT IV
             BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

       45.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.

       46.     At the time Defendant marketed, distributed and sold its Pressure Cookers to the

Plaintiff in this case, Defendant warranted that its Pressure Cookers were merchantable and fit for

the ordinary purposes for which they were intended.

       47.     Members of the consuming public, including consumers such as the Plaintiff, were

intended third-party beneficiaries of the warranty.

       48.     Defendant’s Pressure Cookers were not merchantable and fit for its ordinary

purpose, because they had the propensity to lead to the serious personal injuries as described herein

in this Complaint.

       49.     Plaintiff purchased her Pressure Cooker with the reasonable expectation that it was

properly designed and manufactured, free from defects of any kind, and that they were safe for its

intended, foreseeable use of cooking.

       50.     Defendant’s breach of implied warranty of merchantability was the direct and

proximate cause of Plaintiff’s injury and damages.

       51.     Defendant’s conduct, as described above, was extreme and outrageous. Defendant

risked the safety and well-being of the consumers and users of its Pressure Cookers, including the

Plaintiff to this action, with the knowledge of the safety and efficacy problems and suppressed this

knowledge from the public. Defendant made conscious decisions not to redesign, warn or inform

the unsuspecting consuming public. Defendant’s outrageous conduct warrants an award of

punitive damages according to proof, and to the extent applicable by law.

       WHEREFORE, Plaintiff demands judgment against Defendant for damages, together

with interest, costs of suit, and all such other relief as the Court deems proper.
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                                 DEMAND FOR JURY TRIAL

       Plaintiff demands that all issues of fact of this case be tried to a properly impaneled jury to

the extent permitted under the law.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against the Defendant for damages,

including exemplary damages if applicable, to which she is entitled by law, as well as all costs of

this action and interest, to the full extent of the law, whether arising under the common law and/or

statutory law, including:

           a. judgment for Plaintiff and against Defendant;

           b. damages to compensate Plaintiff for his injuries, economic losses and pain and
              suffering sustained as a result of the use of the Defendant’s Pressure cookers;

           c. pre and post judgment interest at the lawful rate;

           d. exemplary/punitive damages on all applicable Counts, if applicable, as permitted
              by the law;

           e. a trial by jury on all issues of the case;

           f. an award of attorneys’ fees; and

           g. for any other relief as this Court may deem equitable and just, or that may be
              available under the law of another forum to the extent the law of another forum is
              applied, including but not limited to all reliefs prayed for in this Complaint and in
              the foregoing Prayer for Relief.


                                                       Respectfully submitted,


Date: December 14, 2021                        BY:     /s/ Loren Legorreta, Esq.
                                                       Attorney for Plaintiff

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